      Case 1-19-43516-ess             Doc 13       Filed 06/10/19     Entered 06/10/19 15:22:38




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
In re:
                                                              Chapter 13
MICHAEL KRICHEVSKY,                                           Case No.: 19-43516-ESS

                                              Debtor.
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                                       NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that pursuant to Bankruptcy Rules 2002, 2018, 4001, 9007 And
9010, Select Portfolio Servicing, Inc., as Servicer Agent for U.S. Bank NA, successor trustee to
Bank of America, NA, successor in interest to LaSalle Bank NA, on behalf of the holders of the
WaMu Mortgage Pass-Through Certificates, Series 2005-AR15, by its attorneys, The Margolin &
Weinreb Law Group LLP, by Alan Smikun, Esq., hereby appears in the above-entitled Chapter 13
case and demands service of all papers and notices of all proceedings herein.

PLEASE TAKE FURTHER NOTICE that the foregoing demand includes, not only the notice
and papers referred to in the Bankruptcy Rules specified above, but also includes, without
limitation, orders and notices of any application, motion, petition, pleading, request, complaint or
demand, whether formal or informal, whether written or oral and whether transmitted or conveyed
by mail, delivery, telephone, or otherwise which affects or seeks to affect in any way, any rights,
claims or interest of Select Portfolio Servicing, Inc., as Servicer Agent for U.S. Bank NA,
successor trustee to Bank of America, NA, successor in interest to LaSalle Bank NA, on behalf of
the holders of the WaMu Mortgage Pass-Through Certificates, Series 2005-AR15.


Dated: Syosset, New York
       June 10, 2019                        THE MARGOLIN & WEINREB LAW GROUP LLP
                                            Attorneys for Select Portfolio Servicing, Inc., as Servicer
                                            Agent for U.S. Bank NA, successor trustee to Bank of
                                            America, NA, successor in interest to LaSalle Bank NA, on
                                            behalf of the holders of the WaMu Mortgage Pass-Through
                                            Certificates, Series 2005-AR15

                                   By:      /s/ Alan Smikun
                                            Alan Smikun, Esq.
                                            165 Eileen Way
                                            Syosset, New York 11791
                                            (516) 921-3838
                                            alansm@nyfclaw.com
